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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARLAND
                                   (Northern Division)

ANTHONY BROWN, et al.,                       *

                       Plaintiffs,           *
                                                 Case No. 1:11-cv-00667-JKB
           v.                                *

ALLIED HOME MORTGAGE CAPITAL                 *
CORPORATION,
                                             *
                       Defendant.
                                             *


*      *        *      *       *     *   *   *     *      *     *     *       *    *

    MEMORANDUM IN OPPOSITION TO DEFENDANT ALLIED HOME MORTGAGE
     CAPITAL CORPORATION’S MOTION TO COMPEL ARBITRATION AND TO
     DISMISS COMPLAINT OR IN THE ALTERNATIVE TO STAY PROCEEDINGS

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       Plaintiffs Anthony Brown and Bonita Brown (the “Browns”) and Timothy Washington

(“Mr. Washington, collectively “Plaintiffs”), submit this Opposition to Defendant Allied Home

Mortgage Capital Corporation’s Motion to Compel Arbitration and to Dismiss Complaint or in

the Alternative to Stay Proceedings (“Motion”).

  I.   INTRODUCTION

       Allied Home Mortgage Capital Corporation (“Allied”) asks the Court to compel

arbitration of the Browns’ claims based on a purported arbitration agreement which has, as an

express condition precedent to the formation of the agreement, that both parties sign the

agreement. However, Allied never signed the purported agreement until eight and a half years

after the Browns’ transaction, did not sign it until eight and a half years after it had assigned all

right, title and interest in the purported, unsigned agreement to another entity - Wells Fargo -

and did not sign it until after the Browns filed their lawsuit. In fact, Allied signed the purported

agreement less than two weeks before it filed its Motion.

       The purported arbitration agreement submitted by Allied is wholly ineffective. As with

any other contract, the Browns’ offer to enter into the arbitration agreement was automatically

withdrawn after a reasonable period of time for acceptance – and the eight and a half year lapse

between the Browns’ offer and Allied’s signature far exceeded any “reasonable time” for

acceptance. Furthermore, Allied had no interest in the purported arbitration agreement at the

time it signed it, as it had assigned all right title and interest in the agreement to Wells Fargo long

before. And Wells Fargo never signed the agreement – in fact, Wells Fargo’s file for the

Browns’ transaction still contains a copy of the purported arbitration agreement unsigned by

Allied or anyone other than the Browns, and Wells Fargo has independently waived all

arbitration agreements with its customers. Defendant’s sly attempt to dispose of this putative



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class action case by attempting to enforce an arbitration agreement which simply does not exist

should fail.

          Moreover, Timothy Washington, another victim of Allied’s scheme to cheat consumers

and a named Plaintiff in this case, has affirmatively rejected any purported arbitration

agreements with Allied – and Allied has not sought to compel arbitration of his claims. See Exh.

1, Arbitration Rejection Letter. Accordingly, this case is not subject to dismissal.

          For all of these reasons, discussed more fully below, Allied’s Motion should be denied.

    II.   BACKGROUND

              a. Previous Litigation Involving the Plaintiffs’ Table Funded Transactions, and
                 Allied’s Admission that Plaintiffs’ Loans Were Table Funded

          This case follows a recent class action in Baltimore City Circuit Court where Wells Fargo

paid $7 million dollars to settle a class action on behalf of 14,211 borrowers – including named

Plaintiffs and many others in the putative class in this case – alleging Wells Fargo’s conspiracy

to engage in the activities challenged in this lawsuit, in connection with many of the very

transactions at issue in this lawsuit.1 See Final Approval Order in Taylor v. Wells Fargo Home

Mortgage, Inc., Case No. 24-C-02-001635, attached hereto as Exh. 2. The Plaintiffs here – who

are members of the settled Taylor class - were the victims of a scheme to needlessly collect

significant (and unlawful) fees from Maryland consumers for their own profit using an illegal

practice called “table funding.”

          The plain language of the Finder’s Fee statute clearly prohibits the collection of Finder’s

Fees in table funded transactions, where the mortgage broker also acts as the nominal lender, as

described by Judge Nickerson in another case involving Wells Fargo’s table funding conspiracy

with different entities:


1
          The claims here were not released by the Settlement in Taylor.

                                                     2
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       The Complaint alleges that Defendants' scheme involved two distinct steps. First,
       Long & Foster would arrange for homebuyers-in whose transactions it also acted
       as a real estate broker-to obtain a mortgage loan from Prosperity, a purported
       mortgage lender located in Long & Foster's various offices throughout the state of
       Maryland. According to Plaintiffs, however, Prosperity had no money of its own
       to lend and, instead of acting as lender, brokered the loan to Wells Fargo. Thus,
       although Prosperity held itself out as a lender, at the closing table, Wells Fargo
       provided the funds for the loan and received an assignment of the obligation. To
       the borrower, it appeared as if the assignment was only of the “servicing” rights to
       the loan to Wells Fargo, but according to Plaintiffs, Wells Fargo was also the
       source of funds for the loan and was thus, the funding lender.
       …
       Under § 12-804(e) of the Finder’s Fee Act, “a mortgage broker may not charge a
       finder’s fee in any transaction in which the mortgage broker . . . is the lender. . . .”
       The plain language of the statute clearly contemplates a situation where a
       mortgage broker acts as a mortgage lender. What it forbids, on the other hand, is
       the collection of a fee by someone acting as both broker and lender.

Petry v. Wells Fargo Bank, N.A., 597 F. Supp. 2d 558, 561, 562 (D. Md. 2009) [internal citations

and footnote omitted]. See also Taylor v. Savings First Mtg., LLC, No. 24-C-02-001635 (Balt.

City Cir. Oct. 14, 2003) (attached hereto as Exhibit 3); Jones v. Nationscredit Fin. Svcs. Corp.,

No. 24-C-02-00572 (Balt. City Cir. Feb. 3, 2003) (attached hereto as Exhibit 4); Thrash-Webster

v. Charm City Mtg. Corp., No.-24-C-99-003984 (Balt. City Cir. Sept. 6, 2001) (attached hereto

as Exhibit 5).

       Here, Allied readily concedes that the Browns’ loan was table-funded. See Declaration

of Jeanne Stell (“Stell Decl.”), attached as Exhibit 1 to Def. Mem., at ¶¶ 8-9 (“The Plaintiffs’

loan was closed in November 2002 in what is known in the industry and under federal

regulations as a ‘table-funded transaction.’ In a ‘table-funded’ transaction, the mortgage broker

is listed as the nominal lender on certain loan documents, by the loan is funded by a third-party

lender who is assigned the loan documents either at closing or shortly thereafter.”).

       Now, wishing to avoid taking responsibility for its role in the illegal and underhanded

table-funding scheme, Allied represents to this Court that it is entitled to compel arbitration of

Plaintiff’s claims even though it did not sign the arbitration document as required to make it
                                                  3
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effective, and even though it assigned any rights it had to compel arbitration to Wells Fargo –

which has waived all arbitration agreements with its customers as discussed in Part III.d, infra.

           b. Allegations of the Complaint and Procedural History

       Plaintiffs filed their Complaint in the Circuit Court for Baltimore County on February 1,

2011, and filed their First Amended Complaint (“FAC”) in this Court on March 31, 2011.

       The FAC alleges that Allied engaged in predatory mortgage brokering and lending

practices in violation of the Maryland Finder’s Fee Law and the Maryland Consumer Protection

Act. Specifically, from at least 2002, Allied has illegally served as both the mortgage broker and

the mortgage lender in numerous “table funded” transactions and has taken mortgage broker

finder’s fees in those transactions.2 FAC ¶ 18.

       Table funding refers to a settlement at which a loan is funded by a contemporaneous

advance of loan funds and an assignment of the loan to the person advancing the funds. Id. This

practice is particularly suspect because mortgage lenders (here, the Third Party Funding Lenders)

generally rely on mortgage brokers and other referral sources to provide them with their business

in the competitive mortgage lending market. FAC ¶ 19.

       In employing the table funding scheme, the Finder’s Fees, paid by the borrower, were

essentially funding the Third-Party Lenders’ illegal referral fees and kickbacks to Allied in

exchange for Allied sending its business to the Third Party Lenders. A party acting as both

mortgage broker and mortgage lender in a table-funded transaction and charging a finder’s fee

both violates the Finder’s Fee Act and “facilitate[s] the predatory practice of loan flipping.”

Jones v. Nationscredit Fin. Svcs. Corp., No. 24-C-02-00572 at 2 (Cir. Ct. Balt. City) (McCurdy,




2
 Table funding refers to a settlement at which a loan is funded by a contemporaneous advance of loan
funds and an assignment of the loan to the person advancing the funds. Id. at ¶ 12.

                                                   4
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J.) (citation omitted) (attached as Exhibit 4). Allied engaged in this nefarious practice, charging

illegal finder’s fees and engaging in predatory loan practices. FAC at ¶ 1.

       Anthony and Bonita Brown refinanced their home in Maryland with a mortgage through

Allied in November 2002. FAC. at ¶¶ 5-7, 36, 41. In connection with the origination of their

$115,000.00 mortgage loan, the Browns paid at least $4,029.70 in finder’s fees to Allied, as

shown by the “800” section of their HUD-1 Settlement Statement. FAC at ¶ 7; see also FAC

Exh. 1. Allied procured, arranged, or otherwise assisted Plaintiffs in obtaining their mortgage

loan funding through Wells Fargo Home Mortgage (“Wells Fargo”), a Third Party Funding

Lender. Id. at ¶ 24, 46-47.

       The HUD-1 Settlement Statement for the Browns’ November 2002 transaction identifies

Allied as the lender, but Wells Fargo actually funded the mortgage loan. Allied listed itself as

the Lender, notwithstanding the facts that (1) the Third Party Funding Lender (Wells Fargo) is

listed as the payee of the Note, (2) the Deed of Trust is to be sent to Wells Fargo after it is

recorded, and (3) the Borrower is required to select a title insurer that is approved by Wells

Fargo. Id. at ¶ 18, 21.

       Despite the fact that Allied is the identified lender in the Browns’ mortgage loan

transaction, Allied charged a substantial finder’s fee for serving its role as the Browns’ mortgage

broker in finding Wells Fargo to fund the mortgage loan. In fact, even though Allied charged at

least $4,029.70 in finder’s fees, it never provided the Browns—or any member of the putative

class—with a written mortgage broker fee agreement, separate and distinct from any other

document, advising the borrowers that “finder’s fees” would be charged, as required under the

Finder’s Fee Act. Id. at ¶ 45.




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       Similarly, Timothy and Charles Washington refinanced their home in Maryland with a

mortgage through Allied in March 2002, December 2002, and July 2003. FAC at ¶¶ 8-13, 37,

42.   In connection with the origination of their        mortgage loans – totaling $111,548.00,

$109,599.00, and $109,592.00, respectively, the Washingtons paid at least $5,872.16, $4,757.74,

and $3,800.33, respectively, in finder’s fees to Allied, as shown by the “800” section of their

HUD-1 Settlement Statements. See id., see also FAC at Exhs. 2, 3, and 4. Allied procured,

arranged, or otherwise assisted Plaintiffs in obtaining their mortgage loan funding through Wells

Fargo Home Mortgage (“Wells Fargo”), a Third Party Funding Lender. Id. at ¶ 24, 46-47.

       Like the Browns’ transaction, the HUD-1 Settlement Statements for each of the

Washington’s transactions transaction identify Allied as the lender, but Wells Fargo actually

funded the mortgage loans. Allied listed itself as the Lender, notwithstanding the facts that (1)

the Third Party Funding Lender (Wells Fargo) is listed as the payee of the Note, (2) the Deed of

Trust is to be sent to Wells Fargo after it is recorded, and (3) the Borrower is required to select a

title insurer that is approved by Wells Fargo. Id. at ¶ 18, 21.

       Despite the fact that Allied is the identified lender in the mortgage loan transactions of

the Named Plaintiffs, Allied charged a substantial finder’s fee for serving its role as the mortgage

broker in each transaction for finding Wells Fargo to fund the mortgage loan. In fact, even

though Allied charged thousands of dollars in finder’s fees in each transaction, it never provided

the Named Plaintiffs—or any member of the putative class—with a written mortgage broker fee

agreement, separate and distinct from any other document, advising the borrowers that “finder’s

fees” would be charged, as required under the Finder’s Fee Act. Id. at ¶ 45.

       Allied removed the Complaint to this Court on March 11, 2011 and filed the present

Motion, seeking to compel arbitration of the Browns’ claims, on March 18, 2011. On March 31,



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2011, Plaintiffs filed their Amended Complaint, adding Timothy Washington as a Named

Plaintiff. Defendant has not moved to compel arbitration of Mr. Washington’s claims.

            c. The Purported Arbitration Agreement

        The purported arbitration “agreement” Defendant seeks to use to keep the Browns out of

court is completely unenforceable by its own terms.

        First, Defendant admits that the purported agreement was signed by Allied more than

eight years after the Browns offered to enter into the arbitration agreement.3 See Stell Decl. at ¶

10. After receiving the Complaint, Michele Taylor – identified by Defendant as its corporate

secretary - crossed out a space on the purported agreement for an additional borrower, wrote in

Allied’s name, signed, inserted a handwritten seal, and identified herself as “Secretary” of Allied

– on March 9, 2011.4

        Second, before closing the Plaintiffs’ loan (and well over eight years prior to the Taylor

signature), Allied assigned the entire loan file and “all right, title and interest” in it – including

the arbitration document unsigned by Allied - to a separate entity (Wells Fargo), extinguishing

any and all rights it had under the Arbitration document. Defendant fails to even mention this

material fact in its Motion, or the fact that Wells Fargo – which has all of Allied’s rights in the

arbitration document - still has the arbitration document which remains unsigned by Allied. As




3
        In fact, there is not even a signature line for Allied on the purported agreement – that, coupled
with Allied’s failure to sign the agreement for more than eight years, and Allied’s similar failure to sign
other arbitration agreements as revealed by reported case law, demonstrates that Allied never even
intended to enter into these purported agreements. Only because it would be a convenient way for Allied
to dispose of Plaintiffs’ case does it even attempt to newly create an arbitration “agreement” at this time.
4
         As described below, Plaintiffs request time to take discovery on a number of matters, including
the unusual and belated signature of Michele Taylor and the Affidavit of Jeanne Stell, who identifies
herself as “employed by First Lenders Alliance LLC.”

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discussed below, there are numerous other reasons why the purported arbitration agreement is no

agreement at all.

III.    ARGUMENT

        Mr. Washington’s claims, for which Allied has not moved to compel arbitration, are not

subject to arbitration as he affirmatively rejected any purported arbitration agreements he may

have signed, and has never received any such agreements signed by Allied. On this basis alone,

this case is not subject to dismissal.

        Moreover, the purported arbitration agreement submitted by Allied regarding the Browns

is ineffective for at least five reasons: 1) The terms of the purported arbitration agreement

expressly require the signatures of both parties as a condition precedent to contract formation;

without a signature from Allied or its assignee, there is no agreement to arbitrate; 2) any offer by

the Browns in October 2002 to enter into an arbitration agreement lapsed well before Allied

signed the agreement eight and one-half years later, on March 9, 2011; 3) Defendant assigned

the Browns’ loan file to Wells Fargo prior to closing, extinguishing any claim to rights under the

(unenforceable) Agreement; 4) the filing of the Browns’ lawsuit revoked whatever offer to enter

into an arbitration agreement which may have been on the table – and Allied did not sign the

purported agreement until after this lawsuit was filed; and, 5) the Browns have in no way waived

the condition precedent of Defendant’s signature by filing this lawsuit or in any other way – the

filing of this lawsuit acted, if anything, as a confirmation of the Browns’ rejection of the

arbitration agreement. Defendant’s attempt to keep the Browns from having their day in Court

should, accordingly, fail.

            a. Named Plaintiff Timothy Washington Has Affirmatively Rejected Any
               Arbitration Agreements With Allied, and Has Not Received Any Arbitration
               Agreements Signed by Allied.



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        On March 31, 2011, Plaintiffs amended the Complaint to add Timothy Washington as an

additional Plaintiff and class representative (Doc. No. 18). The FAC alleges that Timothy

Washington and his father Charles Washington5 refinanced the mortgage for their home at 5108

Richard Avenue, Baltimore, MD 21214 three times with Allied: on or about March 25, 2002; on

or about December 27, 2002; and on or about July 28, 2003. Mr. Washington alleges that Allied

charged him thousands of dollars in illegal Finder’s Fees in connection with each transaction,

and that his loans were table-funded by Wells Fargo. His claims are materially the same as the

Brown’s.

        Mr. Washington expressly revoked any offer he made to enter into an arbitration

agreement with Allied – and Allied has not even claimed to have signed any purported

arbitration agreement with respect to his transactions. See Exh. 1, Arbitration Rejection Letter

(“Mr. Washington hereby revokes and withdraws any offer to enter into an arbitration agreement

with Allied (or any of its successors or assigns). . . .”).6 Thus, even if the Browns were required

to arbitrate their claims, arbitration of Mr. Washington’s claims cannot be compelled.7 Indeed,

Allied has not moved to compel arbitration of his claims. Accordingly, the FAC is not subject to

dismissal.

5
         Charles Washington died on December 22, 2010.
6
         Furthermore, for the same reasons discussed below with respect to the purported arbitration
agreement with the Browns, any purported arbitration agreement with Mr. Washington is similarly
ineffective.
7
         If Allied should attempt to claim that it has signed some purported arbitration agreement in Mr.
Washington’s transaction but did not provide that document to him, Maryland law does not countenance
such “private acceptance.” See e.g., Cochran v. Norkunas, 398 Md. 1, 26, 919 A.2d 700, 715-16 (2007)
(“The Buyers do not cite any supporting authority for their assertion that a document signed in private and
never delivered or manifested by the Seller’s acts constitutes an enforceable contract. Indeed, under
Maryland law, a contract is not formed until acceptance. . . . Signing the contract in private without
transmitting the documents or otherwise communicating acceptance to the Buyers or their agent does not
create an enforceable agreement.”).” See also Norkunas v. Cochran, 168 Md. App. 192, 204, 895 A.2d
1101, 1108 (Md. Ct. App. 2006); Restatement (Second) of Contracts § 56 (1981) (“it is essential to an
acceptance by promise either that the offeree exercise reasonable diligence to notify the offeror of
acceptance or that the offeror receive the acceptance seasonably”).


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               b. Arbitration Cannot Be Compelled Because No Arbitration Agreement Exists
                  Between the Parties – and Other Courts Have Rejected the Same Arbitration
                  “Agreement” in Similar Circumstances.

        There is no agreement to arbitrate disputes between the Browns and Allied either – Allied

did not sign the arbitration agreement when it held an interest in it, Allied’s assignee never

signed it, and Allied’s attempt to sign it eight and one-half years after it assigned all of its rights

in the document away, to Wells Fargo, is of no effect. Other courts faced with similar situations,

including a previous attempt of Allied to enforce the same document, have declined to compel

arbitration.

        The United States Supreme Court has recognized that a dispute cannot be sent to

arbitration without both parties’ consent when a signed agreement does not exist. See Moses H.

Cone Memorial Hospital v. Mercury Const., 460 U.S. 1, 19-20 (1983); see also Hartford

Accident and Indemnity Co. v. Scarlett Harbor Assocs., 109 Md. App. 217, 290 (1996) (“If ... an

[arbitration] agreement does not exist ... the court ‘shall’ deny the petition.”). “While federal

policy broadly favors arbitration, the initial inquiry is whether the parties agreed to arbitrate their

dispute.” Sydnor v. Conseco Financial Servicing Corp., 252 F.3d 302, 305 (4th Cir. 2001)

(citing Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626, 105 S.Ct.

3346, 87 L.Ed.2d 444 (1985)). “Congress did not intend for the FAA to force parties who had

not agreed to arbitrate into a non-judicial forum, and therefore, federal courts must first decide

whether the parties entered into an agreement to arbitrate their disputes.” Sydnor, 252 F.3d at 305

(citing Volt Info. Sciences, Inc. v. Board of Trustees, 489 U.S. 468, 478, 109 S.Ct. 1248, 103

L.Ed.2d 488 (1989)). “In determining whether the parties executed a valid agreement to arbitrate,

courts generally apply ordinary state-law principles that govern the formation of contracts.”




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Sydnor, 252 F.3d at 305 (citing First Operations of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944,

115 S.Ct. 1920, 131 L.Ed.2d 985 (1995)).

        As this Court has noted, “[o]n a motion to dismiss based on the FAA, the Court ‘engages

in a limited review to ensure that the dispute is arbitrable -- i.e., that a valid agreement to

arbitrate exists between the parties and that the specific dispute falls within the substantive scope

of that agreement.’ Hooters of America, Inc. v. Phillips, 173 F.3d 933, 938 (4th Cir.1999). In

doing so, the Court applies state law principles of contract interpretation. See First Operations

of Chicago, Inc., 514 U.S. at 944, 115 S.Ct. 1920, 131 L.Ed.2d 985 (1995). McPhee Elec. Ltd.,

LLC v. Signal Perfection Ltd., 2010 WL 3245423 at *2 (D. Md. Aug. 16, 2010) (attached hereto

as Appendix A).8

        Accordingly, in this case, Maryland contract law is applied to interpret the arbitration

document.    “In construing a contract, ‘Maryland adheres to the principle of the objective

interpretation of contracts. . . . If a contract is unambiguous, the court must give effect to its

plain meaning and not contemplate what the parties may have subjectively intended by certain

terms at the time of formation.” Id. at 180, 447 (citing Anderson Adventures, LLC v. Sam &

Murphy, Inc., 176 Md. App. 164, 178, 932 A.2d 1186 (2007) and Nova Research, Inc. v. Penske

Truck Leasing Co., L.P., 405 Md. 435, 448, 952 A.2d 275 (2008) (internal quotations omitted).

        Here, the purported arbitration agreement is not valid under well-settled Maryland

contract law because it was not signed and accepted by Allied within a reasonable time. When

an arbitration agreement requires the signatures of both parties to be effective, it must be signed

by both parties as a condition precedent to its enforcement. See All State Home Mortgage, Inc. v.




8
        Because there is no contract to arbitrate, it is unnecessary to consider whether the Plaintiffs’
claims fall within the scope of the purported Arbitration Agreement.

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Daniel, 187 Md. App. 166, 977 A.2d 438 (Md. App. 2009), cert denied, 410 Md. 560, 979 A.2d

707 (Md. 2009) (“All State”).

        In All State, the court examined language materially identical to the purported arbitration

document presented by Allied here. See id. at 171-73, 441-42.9 As here, “All State did not sign

the arbitration agreement. The arbitration agreement also did not include an All State logo, or

any other information identifying All State as the other party to the agreement.” Id. at 171, 441.

Notably, the language requiring that both parties sign the agreement is the same in All State as it

is in this case:

        This Agreement is effective and binding on both you and your heirs,
        successors and assigns and us when it is signed by both parties.

Id. [emphasis added].

        The All State Court, after examining the language of the contract held as follows: “Here,

the contract provided that ‘[t]his agreement is effective and binding. . . when both parties sign

it.’ [emphasis added by the All State Court]. This language in the contract provided, as a

condition precedent to an effective agreement, that both parties sign the agreement. In the

absence of both signatures, no enforceable contract existed.” Id. at 183, 448. See also Los

Angeles Rams Football Club v. Cannon, 185 F. Supp. 717, 719 (S.D. Cal. 1960); Roth v. Garcia

Marquez, 942 F.2d 617, 626 (9th Cir. 1991); O’Daniel Motors, Inc. v. Handy, 390 S.W.2d 453,

453 (Ky. Ct. App. 1965).

        Here, as in All State, the language of the Agreement is clear and its requirement expressly

stated. The signatures of both parties are required as a condition precedent to the formation of

the contract. Allied is never mentioned in the document signed by the Browns, and there is no

indication that Allied is a party to the document signed by the Browns. Allied’s belated attempt
9
         Indeed, Allied recognizes that the language of the All State arbitration document and the Browns’
arbitration document are “nearly identical.” See Def. Mem. at 8.

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to meet the conditions of the Arbitration Agreement is unavailing and does not change the

analysis by the All State court at all. By the time Allied’s agent inserted her signature onto the

eight year old purported arbitration agreement on March 9, 2011, any offer by Mr. and Mrs.

Brown to enter into any arbitration agreement had lapsed and was revoked, as described below.

       In fact, the very agreement which Allied seeks to enforce here has specifically been

found to require the signatures of both parties – including Allied – in order to be an enforceable

contract.   See In re Thomas, 2011 WL 576830 (Bankr. D. Mass. Feb. 9, 2011)

(“Thomas”)(attached hereto as Appendix B), citing All State.

       In Thomas, the Court rejected the attempt of the same party (Allied) to enforce the same

agreement sought to be enforced here:

       The agreement is signed by the plaintiff only and not by Allied. In fact, there is
       no reference to Allied by name anywhere in the agreement. Rather than
       identifying Allied by name, the agreement consistently refers to the plaintiff’s
       counterparty obscurely using the pronouns “we,” “our” and “us.” The second
       paragraph of the agreement states that “[t]his Agreement is effective and binding
       on both you and your heirs, successors and assigns and us when it is signed by
       both parties.

Id. at *2. The Thomas court followed the holding in All State, finding that where the language of

the arbitration agreement provided for it to be “effective and binding to [sic] you and your heirs,

successors and assigns and us when both parties sign it,” it established that the signature of both

parties was a condition precedent to enforcement of the contract. Id. at *2 (citing All State, 187

Md. App. at 183, 977 A.2d at 438).

       Here, the condition precedent for any purported arbitration agreement involving the

Browns to become effective was not satisfied. Defendant did not sign the purported agreement

until after eight and one-half years had passed, after Defendant assigned all right, title and

interest in the loan file (including the purported arbitration agreement), and after Plaintiffs



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affirmatively revoked any offer to enter into an arbitration agreement by filing this lawsuit.

There simply is no agreement to enforce here.

       The only difference between this case and Thomas - that Allied signed the agreement

after more than eight years had passed from the time the Browns signed – is of no moment.

After all, if signing an arbitration agreement after such a lapse of time, and after Plaintiffs filed

their complaint, was effective, then Allied could have simply signed the arbitration agreement in

Thomas after the court’s ruling that the unsigned “agreement” was unenforceable. Of course,

there is no indication it ever did so – perhaps it recognized how ridiculous a proposition that

would be, although that is materially the same argument that Allied proposes the Court accept

here. The time for Allied to accept any offer by the Browns to agree to binding mandatory

arbitration passed long before this lawsuit was filed, and even longer before Allied signed the

purported “agreement.”

        Defendant, after being served with Plaintiffs’ Complaint, and after losing its motion to

compel arbitration in Thomas for failure to sign a similar arbitration agreement, attempted to

revive the purported arbitration agreement in this case by signing it in March 2011 - after being

served with Plaintiffs’ Complaint.       However, Allied’s opportunity to sign the purported

agreement passed many years ago, and in any event passed when Allied assigned all of its

interest in the purported agreement to Wells Fargo.

       Allied’s assertion that the condition precedent of signing the purported arbitration

agreement is satisfied by its 2011 signature is untenable. Aside from its other failings, it is just

too late. In Maryland, any offer – like any offer of the Browns to enter into the purported

arbitration agreement – must be accepted within a reasonable time:

       It is hornbook law that an offer of no specified duration must be accepted within a
       time reasonable under the circumstances or the offer will lapse and a subsequent

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        attempt to accept will be of no effect. Restatement, Contracts § 40 (1932); 1
        Corbin, Contracts § 36 (1963); 17 C.J.S. Contracts § 51 (1963); Van Camp Co. v.
        Smith, 101 Md. 565, 573, 61 A.2d 284; cf. Hagan v. Dundore, 185 Md. 86, 43
        A.2d 181, 160 A.L.R. 517; and Chapman v. Thomas, 211 Md. 102, 126 A.2d 579.

Barnes v. Euster, 240 Md. 603, 607, 214 A.2d 807, 810 (1965) (finding a three year delay in

acceptance unreasonable under the circumstances).10

        Here, the delay was nearly three times as long as the delay found unreasonable in Barnes.

There is no credible argument that it was reasonable under the circumstances for Allied to wait

nearly nine years to countersign the purported arbitration agreement, nor has Allied made any

such argument. Accordingly, no agreement to arbitrate exists between the Browns and Allied.

            c. Allied Assigned Away Any Rights Under the Arbitration Document in the
               Browns’ Transaction in October 2002, Long Before It Ever Attempted to
               Sign the “Agreement.”

        It is well-settled that the assignment of an arbitration agreement, as occurred when Allied

assigned the arbitration agreement here to Wells Fargo, divests Allied of any ability to accept

such an agreement after the fact. For example, one federal district court dealt with a similar

situation involving an assignment of an arbitration agreement, and determined that, post-

assignment, the assignor was not a proper party to an arbitration, and that all arbitration rights

and responsibilities resided in the assignee – even where the agreement was signed before

assignment:

        The thrust of RRCI’s position is that both the assignor and assignee of an
        agreement may be compelled to arbitrate a dispute that comes within the scope of
        a valid arbitration agreement. Such a position is unsupported by law. See

10
         Barnes is the definitive decision in Maryland on this issue, but other courts are in accord. See
e.g., Piland Corp. v. REA Cont. Co., 672 F. Supp. 244, 246-47 (E.D. Va. 1987) (“Where the offer is silent
on when acceptance must be exercised, it must be exercised within a reasonable time; otherwise the law
presumes it to be withdrawn, and a subsequent acceptance will impose no obligation on the proposer,
even though he has done no act and gives no notice of its withdrawal.”) (citing Crews v. Sullivan, 133 Va.
478, 113 S.E. 865 (1922); Martin v. Basham, 216 Va. 914, 223 S.E.2d 899, 900 (1976); United States v.
Roberts, 436 F. Supp. 553 (E.D. Tex. 1977); Halstead v. Globe Hoist Co., 231 F. Supp. 1012 (N.D. Cal.
1964); 4-B Michie’s Jur., Contracts § 19 (1986); 17 Am. Jur.2d, Contracts, § 56 (1964).).

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        Restatement (Second) of Contracts § 317(1) (1981) (“An assignment of a right is
        a manifestation of the assignor’s intention to transfer it by virtue of which the
        assignor’s right to performance by the obligor is extinguished in whole or in part
        and the assignee acquires a right to such performance.”) (emphasis supplied [by
        RRCI Contractors court]); see also Affymax, Inc. v. Johnson & Johnson, 420 F.
        Supp. 2d 876, 879 (N.D. Ill. 2006) (“[A]n assignment ordinarily extinguishes the
        right [of the assignor] to compel arbitration.”). The Lease Agreement [which
        contains the agreement to arbitrate] is expressly between one lessor and one
        lessee, not two partial lessors and one lessee. Logic dictates that RRCI can bind
        only the party with which it is currently in contractual privity.

RRCI Contractors, LLC v. Charlie’s/Diamond Ready Mix, Inc., 2009 WL 799660, *5 (D.V.I.

Mar. 24, 2009) (attached hereto as Appendix C). Here, of course, the purported arbitration

agreement was not signed until after assignment.

        On October 17, 2002, approximately two months prior to the Browns’ loan closing, and

nearly nine years before Allied attempted to sign the arbitration document, Molly Millard, an

Allied Loan Processor, on behalf of Allied, sent an “Assignment Letter” to Wells Fargo, attached

as Exh. 6. The Assignment Letter provided, in part: “This letter is to assign all rights, title,

appraisal and interest in the above referenced loan file from Allied Mortgage Capital Corporation

to Wells Fargo Mortgage, Inc. #685.”

        A copy of the Arbitration Agreement, unsigned by Allied, was included in the “loan file”

assigned to Wells Fargo. See Exh. 7.11 Wells Fargo never signed or attempted to sign the

Agreement. Wells Fargo succeeded to the rights and obligations contained in the Browns’ loan

file, including the unsigned Arbitration Agreement. The assignment alone extinguishes any

rights Allied may have once had under the unsigned document, including any rights to sign and


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        Counsel for Plaintiffs obtained the Browns’ file from Wells Fargo, which included the
Assignment Letter and a copy of the Arbitration Agreement still unsigned by Allied or anyone other than
the Browns. Carney Declaration at ¶ 2, see also Exh. 7. The fact that Allied did not disclose this
information – i.e. that it assigned all rights in the agreement, and that Wells Fargo still does not have an
agreement signed by Allied - with the filing of their Motion underscores the importance of the need for
discovery, if the Court does not deny Allied’s Motion based on Plaintiffs’ legal arguments.

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accept the purported agreement, as well as any rights to enforce the agreement. See RRCI

Contractors, LLC.

        Accordingly, even if Allied had timely accepted the purported arbitration agreement, it

could not compel arbitration now that it has assigned “all right, title and interest” in that

agreement to Wells Fargo – and, even if that were not enough, Wells Fargo has waived all

arbitration rights it has with its customers as discussed below.

           d. Wells Fargo, the Assignee of the Browns’ Loan File Including the Arbitration
              Document, Waived All Arbitration Rights on the Browns’ Transaction.

        Mandatory consumer arbitration clauses have long been criticized by a broad range of

observers as being unfair, one-sided, and aimed primarily at preventing consumers from

asserting claims against businesses, as opposed to simply shifting the forum in which such

claims are decided. See, e.g., testimony before the U.S. Senate Comm. on the Judiciary, S. 1782,

The Arbitration Fairness Act of 2007, Dec. 10, 2007, Sen. Hrg. 110-396, at 2, 10, 19, 45, 51, 60,

61-2.

        Beginning in 2004, major players in the real estate industry began to pay attention to

these criticisms. One of them was the Federal National Mortgage Association (better known as

“Fannie Mae,” or simply “Fannie”), which buys and securitizes residential mortgages. Because

of its pivotal role in the residential real estate market, the ability to sell a mortgage to Fannie

Mae – a so-called “conforming” loan – is essential to lenders such as Wells Fargo. See M.

Dorsey, et al., Financing Residential Real Estate (13th ed. 2005) pp. 304-05.

        Effective October 31, 2004, Fannie Mae announced that “mortgage loans that are subject

to mandatory arbitration are ineligible for sale to, or securitization by, Fannie Mae.” Exh. 8, pp.

4-5. Fannie’s sister institution, the Federal Home Loan Mortgage Corporation (better known as




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“Freddie Mac”), which fulfills a similar role in buying “conforming” mortgages, later followed

suit. See Exh. 9.

          To protect its valuable right to sell conforming mortgages to both Fannie Mae and

Freddie Mac, Wells Fargo responded by making a bank-wide decision to waive, completely and

without reservation, all mandatory arbitration clauses in its loans. The bank’s August 29, 2005

press release stated that the bank’s operating subsidiaries had made “changes to benefit

customers of their nonprime real estate-secured lending businesses. These improvements include

...:

                 Eliminating mandatory arbitration clauses on real estate loans at Wells Fargo
                  Financial to be consistent with Wells Fargo Home Mortgage.” [Exh. 10, p. 1.]12

To be sure, Wells Fargo’s borrowers (such as Plaintiffs herein) benefited from the Bank’s

decision to waive its mandatory consumer arbitration clauses. But just as clearly, Wells Fargo

benefited directly by complying with both Fannie Mae and Freddie Mac’s strict terms for the

purchase and sale of residential mortgages.

          The Federal Arbitration Act provides that “a party with an arbitrable claim may apply for

a stay of the trial of that action if ‘the applicant for the stay is not in default in proceeding with

such arbitration.’” American Recovery Corp. v. Computerized Thermal Imaging, Inc., 96 F.3d

88, 95 (4th Cir. 1996), quoting 9 U.S.C. § 3. Given this authority, the courts in this Circuit have

routinely adjudicated claims of waiver arising from motions to compel arbitration. See, e.g.,

American Recovery Corp., supra; Microstrategy, Inc. v. Lauricia, 268 F.3d 244, 249 (4th Cir.

2001) (district court decided waiver issue, as did Court of Appeals); East Coast Hockey League,

Inc. v. Professional Hockey Players Ass’n, 322 F.3d 311 (4th Cir. 2003) (same).



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     WF Financial and WF Home Mortgage are the prime and subprime lending arms of Wells Fargo.


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          Almost without exception, arbitration waiver claims arise when the party seeking

arbitration has already participated extensively in the litigation process. In such “litigation

waiver” cases, the Fourth Circuit has held that the test is as follows: “A party may waive its

right to insist on arbitration if the party so substantially utilizes the litigation machinery that to

subsequently permit arbitration would prejudice the party opposing arbitration.’” Microstrategy,

supra, 268 F.3d at 249 (quoting Maxum Founds., Inc. v. Salus Corp., 779 F.2d 974, 981 (4th Cir.

1985)).

          Obviously, this is not such a case. Here, the issue is not whether Wells Fargo’s conduct

is (as the question is commonly phrased) “tantamount to a waiver,” because it IS a waiver: the

bank has expressly renounced any right to rely on the arbitration clause in all circumstances by

“[e]liminating mandatory arbitration clauses on real estate loans.” Exh. 10. And Wells Fargo

took this extraordinary step in order to secure an enormous financial benefit for the bank: the

ability to sell conforming mortgages to Fannie Mae and Freddie Mac, which would not otherwise

purchase the huge numbers of residential mortgages originated by the bank.

          The blanket waiver effected by Wells Fargo’s August 29, 2005 renunciation of arbitration

in all its lending agreements is, of course, sufficient to resolve the issue for the Browns (and Mr.

Washington) – whose loan was assigned to Wells Fargo contemporaneous with closing and was

subject to Wells Fargo’s affirmative waiver.

          In short: Wells Fargo’s decision to give up arbitration in its loan agreements, to protect

its valuable franchise for re-sale of mortgages to Fannie Mae and Freddie Mac, should be

enforced by this Court exactly as the bank announced it to the world and to their borrowers – and

Allied cannot, after having assigned all of its rights in the arbitration agreement to Wells Fargo




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(including the right to waive such an agreement), keep the Browns out of court on the basis of a

long-ago waived “agreement.”

       e.      Plaintiffs Revoked Their Offer to Enter Into the Arbitration Agreement by
               Filing Their Lawsuit Prior to the Date Defendant Signed the Agreement

       Moreover, even assuming the Plaintiffs’ offer to enter into the contract was still open

after eight years (which it was not), and even assuming that any arbitration agreements in the

Browns’ transaction were not waived (which they were), the filing of Plaintiffs’ lawsuit on

February 1, 2011 gave Allied more than sufficient notice that the offer was definitively revoked.

       “An offeree’s power of acceptance is terminated when the offeree receives from the

offeror a manifestation of an intention not to enter into the proposed contract.” Restatement

(Second) of Contracts § 42. See also Williston on Contracts § 5:8 (“as a result of the rule that

unsealed promises without consideration are not binding, offers ... may be revoked by the offeror

at any time prior to the creation of a contract by acceptance.”). An offer can be revoked prior to

its acceptance if the offeror either expressly revokes the offer or implicitly revokes the offer by

clearly manifesting an unwillingness to enter into the proposed bargain. Restatement (Second)

of Contracts § 42, Comment d.

       The Browns’ filing of their lawsuit clearly manifested the Browns’ unwillingness to enter

into the Arbitration Agreement. Plaintiffs’ revocation of any offer to enter into an arbitration

agreement prior to Defendant’s belated attempt to accept it provides yet another reason that the

purported arbitration agreement is unenforceable.

       f.      The Purported Arbitration “Agreement” is Not Supported by the
               Consideration Recited in the Document Itself.
       Allied argues that the since the Browns purportedly accepted “Allied’s performance in

processing the loan, [they] are now equitably estopped to deny the enforceability of [sic]

Arbitration Agreement that was part of the consideration for the refinancing transaction.” Def.

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Mem. at 12. But Defendant omits the full recitation of consideration contained in the purported

agreement, which shows that Allied did not provide the consideration it promised:

            This Agreement is made in consideration of our processing of your inquiry or
            application for a loan secured by the property identified below (“loan”) and is
            also made in further consideration of our funding of the loan at the
            interest rate(s) and terms referenced in the loan documents.”

(emphasis added to show the portion of the consideration omitted by Defendant in its

discussion).    Thus, the Arbitration Agreement specifically names the funding of the loan as

required consideration. This is fatal to Allied’s Motion because, as alleged in the Complaint, and

as conceded by Allied, Allied did not actually fund the loan; Wells Fargo funded the Plaintiffs’

loan.13 FAC ¶¶ 31-40; see also Stell Decl. at ¶¶ 8-9. Thus, Allied’s assertion that it fully

performed under the contract is incorrect. Compare Cheek v. United Healthcare of the Mid-

Atlantic, Inc., 378 Md. 139, 161, 835 A.2d 656, 669 (2003) (finding arbitration agreement

unenforceable for lack of consideration where the employer’s promise to arbitrate was illusory

and continued employment was insufficient consideration).

            g. Plaintiffs Have Not Waived Allied’s Countersignature

        In a desperate attempt to resuscitate the purported arbitration agreement, Allied shoots

the last arrow in its quiver, arguing that Plaintiffs have waived the condition precedent of

Allied’s countersignature and are estopped from denying enforceability of the Arbitration

Agreement simply by proceeding with their loan transaction – even though the purported

arbitration agreement is ineffective by its own terms without a countersignature. See Exh. 7

(“This agreement is binding … when it is signed by both parties.”) [emphasis added]. Allied’s

argument is without merit.


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        It is not in any way established that Allied “processed” the loan either, and the admitted table
funding of the loan indicates that Wells Fargo, not Allied, actually processed the loan – and determining
who processed the loan will require discovery.

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       “It is fundamental that where a contractual duty is subject to a condition precedent,

whether express or implied, there is no duty of performance and there can be no breach by

nonperformance until the condition precedent is either performed or excused.” Laurel Race

Course, Inc. v. Regal Const. Co., Inc., 274 Md. 142, 154, 333 A.2d 319, 327 (1975) (citations

omitted). “The existence of a condition precedent in a contract can be determined by the terms

of the contract. . . .” All State, 187 Md. App. at 182, 977 A.2d at 448.

       Here, the condition precedent has been neither effectively performed nor excused.

Defendant willfully chose not to sign the Arbitration Agreement – perhaps to keep its options

open in the belief it could decide whether to litigate – or, in the case of a class action, demand

arbitration to effectively avoid liability – after a lawsuit was filed. Allied, however, presents no

basis for the equitable relief it requests. The purported arbitration agreement unambiguously

requires signatures of both parties – including Allied – and Allied simply did not sign the

agreement in a timely manner, or before its interest in the agreement was assigned. It cannot

now claim that its agreement was implicit when its signature was explicitly required. Indeed,

cases finding mutual assent without requiring the presence of a party’s signature have

specifically distinguished themselves from the situation here – where the contract specifically

requires a signature to be effective. See, e.g., Winfrey v. Bridgestone/Firestone, Inc., 1999 WL

1295310 (8th Cir. Dec. 23, 1999) (attached as Appendix D) (“‘in the absence of … an

agreement by the parties that a contract shall not be binding until it is signed, signatures of the

parties are not essential for establishing a binding contract if manifestation of mutual assent is

otherwise shown.’”) [emphasis added] (quoting Coffey v. Mann, 585 N.W.2d 518, 523 (Neb.

App. 1998)).




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         Allied cites to Cattail Assoc., Inc. v. Sass, 170 Md. App. 474, 499, 907 A.2d 828, 843

(Md. App. 2006), claiming it supports the proposition that a party may waive a condition

precedent in the present circumstance. This is simply not the case. Cattail did not involve an

express requirement of countersignature for the contract to be binding. Moreover, Defendant

cites only one parenthetical citation in a paragraph full of cites that clarify that waiver must be

unequivoval and of a condition that benefits the waiving party (unlike here) in order to make its

argument. The full quotation, below, demonstrates that the waiver Allied claims is not available

to it:

         “Waiver, however, ‘must be clearly established and will not be inferred from
         equivocal acts or language. Whether there has been a waiver of a contractual
         right involves a matter of intent that ordinarily turns on the factual circumstances
         of each case.’” Questar Homes of Avalon, LLC v. Pillar Const., Inc., 388 Md.
         675, 687, 882 A.2d 288 (2005) (quoting Gold Coast Mall, Inc. v. Larmar Corp.,
         298 Md. 96, 109, 468 A.2d 91 (1983)). As recently stated by one court, “[i]t is
         well established that although a party may waive a provision included in a
         contract for that party’s sole benefit, a party cannot waive a contractual
         requirement that benefits both sides to the transaction.” Citadel Equity Fund Ltd.
         v. Aquila, Inc., 371 F. Supp. 2d 510, 520 (S.D.N.Y. 2005).

                Accordingly, the application of the doctrine of waiver when one
                party seeks to enforce a contract and compel performance by the
                other party despite the nonoccurrence of a condition precedent to
                performance, ordinarily requires a determination whether the
                condition was inserted in the contract solely for the benefit of the
                party seeking to enforce the contract despite its nonoccurrence.

                Williston, supra, at § 39:24.

Id. at 499-500, 843. Plaintiffs have not intentionally waived, expressly or impliedly, their right

to performance by Defendant – and could not, given the language of the purported agreement.

And Defendant does not point to any action by the Plaintiffs to assert intentional, unequivocal

waiver, but rather argues that Plaintiffs are “equitably estopped” from denying the enforceability

of the Arbitration Agreement because it was part of the consideration for the refinancing

agreement. Def. Mem. at 12.

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        The fact that Plaintiffs’ claims concern their refinancing transaction has nothing to do

with the unenforceability of the Arbitration Agreement. As described above, Defendant did not

fund the loan. Further, Defendant here was not a “nonsignatory” to the purported arbitration

agreement because it was not a party to the contract - instead, it chose not to sign the contract.

And when the purported arbitration agreement was assigned, Allied not only lost all interest in it

(and any ability to compel arbitration) – but the assignee explicitly waive any arbitration rights

that may have existed.     Thus, to the extent equitable estoppel will on occasion permit a

nonsignatory to an Arbitration Agreement to enforce the agreement, such doctrine is inapplicable

here.

        The cases Defendant cites in support of its assertion regarding equitable estoppel

similarly have nothing to do with one party choosing not to sign a contract when required to by

its terms in order to enforce it, and are otherwise inapposite. For example, Canaras v. Lift Truck

Svcs., Inc., 272 Md. 337, 322 A.2d 866 (1974) concerned an attorney (Canaras) who, after many

unsuccessful attempts to get the principals of a small company (Lift Truck) to sign a self-

renewing employment contract for Canaras’ services beginning on December 1, 1971, finally

obtained the signatures (possibly because the principals believed they were signing a different

agreement) on May 18, 1972. Id. at 341-43, 868-70. The contract provided that it would

automatically renew in the absence of written notice from the principals. Id. at 341, 868. “The

issue before the trial court was whether Lift Truck, by the execution of the contract on May 18,

1972, thereby intended to employ Canaras for a six-year term since on that date, the period of

time required for notice of non-renewal – nine full months prior to November 1, 1972 (February

1, 1972) – had expired.”     Id. at 351, 873-74.    Because the language of the contract was

ambiguous or uncertain (unlike here, where the language is clear), the Canaras court looked to



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extrinsic evidence. Id. at 352-53, 874. The “unjust forfeiture” Defendant attempts to claim for

itself (Def. Mem. at 11, 12) is not available to them here, where the condition has not been

excused and there has not been performance. The Canaras court ultimately found that “[s]ince

the condition in the renewal clause of Canaras’ contract was impossible of performance by virtue

of the expiration of time antecedent to the date of its execution, it must be held to have been

‘nugatory’ and incompatible with the provisions in Paragraph One. . . .” Id. at 356, 876. This

holding does not help Defendant.

       Further, Judge Blake’s decision in Iraq Middle Market Devel. Foundation v. Al

Harmoosh, 2011 WL 197980 (D. Md. Jan 20, 2011) (attached hereto as Appendix E) concerned

entirely different circumstances. In Al Harmoosh, the plaintiff, IMMDF, was a company that

made a business loan to AGTTT, a company owned by the Defendant, Mr. Al Harmoosh. The

terms of the loan were memorialized in a “Loan Agreement,” which Mr. Al Harmoosh signed on

behalf of AGTTT, and which included a mandatory arbitration clause. In addition, Mr. Al

Harmoosh executed a promissory note (“Note”) guaranteeing the loan. When AGTTT failed to

repay the loan, IMMDF filed a lawsuit against Al Harmoosh. Al Harmoosh moved to dismiss in

favor of arbitration. Id. at *1

       IMMDF argued that “because Al Harmoosh was not a party to the Loan Agreement

containing the arbitration clause, the present dispute, in which it asserts a breach of the Note, is

not arbitrable.” Id. at *2. Thus, the defendant in Al Harmoosh was attempting to enforce an

arbitration agreement against a non-party (in addition to a non-signatory) to the arbitration

agreement, unlike here, where Allied was an original party to the arbitration agreement, who

merely neglected to sign it, though required to by its terms. The Al Harmoosh court employed

the equitable doctrine of estoppel to enforce the contract because it found that the plaintiff’s



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claims rested on Al Harmoosh’s breach under the Loan Agreement. Id. at 3. This equitable

remedy is not available to Defendant here, where Defendant could have signed the contract, but

chose not to do so under the mistaken belief that it was unnecessary. In essence, Allied was a

nonsignatory to the arbitration agreement only because it chose to be so (until 2011) and, now

that the agreement has been assigned and more than eight years have elapsed, Allied is stuck

with its decision.

       h.      Plaintiffs Should Be Permitted to Conduct Discovery If Necessary

       For the reasons set forth above, Plaintiffs submit that there can be little question that no

arbitration agreement exists. But to the extent this Court wishes to consider the purported

arbitration agreement, discovery and a hearing are plainly essential to get to the bottom of certain

related facts, such as Defendant’s representation to this Court that Allied had a valid, binding and

enforceable arbitration agreement, without disclosing the fact that it had assigned any and all

rights in the purported arbitration agreement more than eight years ago, see Exh. 6. Similarly, if

this Court has any doubt about whether Wells Fargo waived arbitration; or requires further

information about the substantial benefits that Wells Fargo received as a result of its company-

wide decision to waive arbitration, discovery is the only solution.

       Defendant has created an unusual set of circumstances in the 2011 signing of the

Arbitration Agreement; details surrounding the 2011 signing are unknown to Plaintiffs.

Although Plaintiffs believe that the decision in All State and that fact that Allied assigned away

its rights in the Arbitration Agreement prior to the loan closing should dispose of Defendant’s

motion entirely, Plaintiffs respectfully request that they be permitted to conduct discovery on

issues concerning the 2011 signing and the Arbitration Agreement if the Court is inclined to

grant Defendant’s motion. Plaintiffs require discovery, including the:



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         production of documents concerning the Plaintiffs’ loan files and the 2011 signing of the

          Arbitration Agreement, including documents concerning the employment relationships

          between Allied and Jeanne Stell14 and Michele Taylor;

         deposition of Jeanne Stell; and

         deposition of Michele Taylor. See Carney Declaration ¶ 4.

          The right to such discovery to resolve factual issues underlying a motion to compel

arbitration is generally recognized under the Federal Arbitration Act. See, e.g., Blair v. Scott

Specialty Gases, 283 F.3d 595 (3d Cir. 2002) (remand for discovery into cost of arbitration

procedure); Toppings v. Meritech Mortgage Svcs., 140 F. Supp.2d 683, 685 (S.D. W. Va. 2001)

(same for arbitrator bias and unconscionability generally). The need for discovery and a hearing

is even greater when the disputed or uncertain facts touch on submissions to this Court which are

demonstrably false.

IV.       CONCLUSION




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          Defendant cites to Ms. Stell’s Declaration, but it is unclear what relevance the declaration has,
and even if it were relevant, it is rife with problems rendering it useless, including the following:

         Ms. Stell describes herself as an employee of First Lenders Alliance LLC and a former employee
          of Allied. Ms. Stell does not state what, if any, relationship exists between First Lenders Alliance
          LLC and Allied. Stell Decl. ¶ 2-3.
         Ms. Stell’s Declaration is made based on “Allied’s books and records,” which she asserts forms
          the basis of her “direct personal knowledge.” Stell Decl. ¶ 5.
         Ms. Stell attests to Michele Taylor’s signing of the Arbitration Agreement, although she does not
          purport to have witnessed the signature or to have personal knowledge with regard to Michele
          Taylor’s handwriting/signature. Stell Decl. ¶ 10.
         Ms. Stell does not state when Michele Taylor became the “corporate secretary” of Allied,
          including whether she was “corporate secretary” of Allied at the time the Plaintiffs’ purportedly
          signed the Arbitration Agreement.

        If the Court is not inclined to consider the purported arbitration agreement, it should at least
permit Plaintiffs to take discovery of these matters, including the depositions of Jeanne Stell and Michele
Taylor.


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      For all of the foregoing reasons, Plaintiffs respectfully request that the Court deny

Defendant’s Motion.

Dated: April 11, 2011                    Respectfully submitted,



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